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              IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF SOUTH CAROLINA
                      CHARLESTON DIVISION


IN RE AQUEOUS FILM-FORMING        MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY
LITIGATION MDL 2873               This Document Relates To:

                                  Mauldin v. 3M Company, et al., 2:21-cv-00366
                                  Allen v. 3M Company, et al., 2:21-cv-01573
                                  Allen v. 3M Company, et al., 2:21-cv-01572
                                  Hayes v. 3M Company, et al., 2:22-cv-00711
                                  Marchetti v. 3M Company, et al., 2:22-cv-00710
                                  Nordby v. 3M Company, et al., 2:22-cv-01589
                                  Nanez v. 3M Company, et al., 2:22-cv-01590
                                  Babstock v. 3M Company, et al., 2:22-cv-02473
                                  Ain v. 3M Company, et al., 2:23-cv-01520
                                  Baldwin v. 3M Company, et al., 2:23-cv-01563
                                  Ballard v. 3M Company, et al., 2:23-cv-01826
                                  Brown v. 3M Company, et al., 2:23-cv-01827
                                  Buckler v. 3M Company, et al., 2:23-cv-01828
                                  Charkowick v. 3M Company, et al., 2:23-cv-1598
                                  Diehl v. 3M Company, et al., 2:23-cv-01564
                                  Gayron v. 3M Company, et al., 2:23-cv-01829
                                  Hoenisch v. 3M Company, et al., 2:23-cv-01565
                                  Horta v. 3M Company, et al., 2:23-cv-01566
                                  Jackson v. 3M Company, et al., 2:23-cv-01567
                                  Kouns v. 3M Company, et al., 2:23-cv-01568
                                  MacDonald v. 3M Company, et al., 2:23-cv-1830
                                  Mathews Jr. v. 3M Company, et al., 2:23-cv-1569
                                  Peterkinson v. 3M Company, et al., 2:23-cv-1570
                                  Shackel v. 3M Company, et al., 2:23-cv-01571
                                  Shamiya v. 3M Company, et al., 2:23-cv-01572
                                  Vitales v. 3M Company, et al., 2:23-cv-01574
                                  Brodeur v. 3M Company, et al., 2:23-cv-01575
                                  Connor v. 3M Company, et al., 2:23-cv-01576
                                  Fagan v. 3M Company, et al., 2:23-cv-01577
                                  Grilla v. 3M Company, et al., 2:23-cv-01578
                                  Lorenzo v. 3M Company, et al., 2:23-cv-01579
                                  Yerardi v. 3M Company, et al., 2:23-cv-01580
                                  Withycombe v. 3M Company, et al., 2:23-cv-1831


      NOTICE OF DISMISSAL WITHOUT PREJUDICE PURSUANT TO
          FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)



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         Plaintiffs filed complaints in the above-captioned actions against Defendant Perimeter
Solutions, LP (“Perimeter Solutions”). Perimeter Solutions has not answered or moved in response

to those complaints. Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
Plaintiffs hereby dismiss the above-captioned actions against Perimeter Solutions without
prejudice. Plaintiffs reserve their rights against all other defendants named in the above-captioned
cases.


 Dated: August 16, 2023                         Respectfully submitted,

                                                /s/ Jonathan K. Levine
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                                                Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2023, I filed the foregoing with the Clerk of Court using

the CM/ECF system, which will send a true and correct copy of the foregoing via email to all

counsel of record.

 Dated: August 16, 2023                        /s/ Jonathan K. Levine
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